          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                      CRIMINAL CASE NO. 1:99cr75


UNITED STATES OF AMERICA, )
                            )
                            )
             vs.            )                    ORDER
                            )
                            )
WAYNELY BROWN.              )
                          )



     THIS MATTER is before the Court on the Defendant’s Petition for Writ

of Audita Querela [Doc. 287].

                         PROCEDURAL HISTORY

     On August 4, 1999, the Defendant was charged in a one count bill of

indictment with conspiracy to possess with intent to distribute cocaine and

cocaine base. [Doc. 3]. He was found guilty by jury verdict on January 20,

2000. [Doc. 56]. On January 31, 2001, the Defendant was sentenced to 240

months imprisonment. [Doc. 108]. The Defendant appealed and the United

States Fourth Circuit Court of Appeals affirmed his conviction and sentence.

United States v. Brown, 38 Fed.Appx. 133 (4 th Cir. 2002).

     In May 2003, the Defendant filed a motion pursuant to 28 U.S.C. §2255.




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Brown v. United States, Civil Case No. 1:03cv111. That motion was denied

on August 19, 2003. [Civil Case No. 1:03cv111, at Doc. 4]. The Defendant’s

motion for a certificate of appealability was denied by the Fourth Circuit.

United States v. Brown, 95 Fed.Appx. 13 (4 th Cir. 2004).

     In 2005, the Fourth Circuit affirmed the trial court’s denial of his motion

to compel the Government to file a motion for a sentence reduction. United

States v. Brown, 155 Fed.Appx. 708 (4 th Cir. 2005). When the trial court

denied his motion to reconsider his §2255 motion, he also appealed to no

avail. United States v. Brown, 197 Fed.Appx. 248 (4 th Cir. 2006).

     On March 16, 2009, the trial court denied the Defendant’s motion

pursuant to the Crack Cocaine Guideline Amendment. [Doc. 264].               The

Defendant once again appealed, arguing that the Court could have sentenced

him below the amended guideline range. That argument was rejected as well.

United States v. Brown, 329 Fed.Appx. 475 (4 th Cir. 2009).

     While that appeal was pending, the Defendant filed another motion to

reduce his sentence or alternatively, for reconsideration. [Doc. 265]. That

motion was denied on April 2, 2009. [Doc. 269]. The Defendant did not

appeal.

     On September 8, 2009, the Defendant’s case was reassigned to the

undersigned due to the retirement of Hon. Lacy H. Thornburg, the trial court


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and sentencing judge. On May 14, 2010, this Court denied two more motions

which had been filed by the Defendant. [Doc. 285].         He did not appeal;

instead, he has now filed the pending motion.

                                DISCUSSION

      The Defendant now moves pursuant to the ancient writ of audita querela

claiming that he is not actually the person indicted because Devon Alphonso

Thomlinson stole his identity and he received ineffective assistance at trial.

The Defendant has attached a document purportedly signed in Jamiaca in

January 2009 which he claims is Thomlinson’s affidavit. [Doc. 287]. In that

document, it is stated that Thomlinson gave false information against the

Defendant. [Id.]. The Defendant also argues that, because he will be deported

at the conclusion of his sentence, equitable relief should be granted.

      The All Writs Act, 28 U.S.C. §1651, “is a residual source of authority [by

which a district court may] issue writs that are not otherwise covered by

statute.” Pennsylvania Bureau of Correction v. U.S. Marshals Serv., 474 U.S.

34, 43, 106 S.Ct. 355, 88 L.Ed.2d 189 (1985).

      At common law, the writ of audita querela permitted a judgment
      debtor to obtain equitable relief from a legal judgment because of
      some defense or discharge arising after the entry of the judgment.
      Audita querela has been expressly abolished in civil cases by the
      Rules of Civil Procedure. See, Fed.R.Civ.P. 60(b). The writ, or
      a modern equivalent, at least potentially survives in the federal
      criminal context, however, under the Supreme Court’s decision in
      United States v. Morgan, 346 U.S. 502, 74 S.Ct. 247, 98 L.Ed.

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      248 (1954) and the All Writs Act.

United States v. Valdez-Pacheco, 237 F.3d 1077, 1079 (9 th Cir. 2001).

      The writ of audita querela, however, is not available to a federal prisoner

where postconviction relief would be cognizable pursuant to 28 U.S.C. §2255.

United States v. Holt, 417 F.3d 1172, 1175 (11 th Cir. 2005), citing In re

Rushing-Floyd, 62 Fed.Appx. 64, 64-65 (4 th Cir. 2003). The Antiterrorism and

Effective Death Penalty Act of 1996 (AEDPA) requires that before a second

or successive motion pursuant to §2255 may be filed, the petitioner must first

obtain an order from the court of appeals authorizing the district court to

entertain it. Holt, supra. The Defendant here has previously filed a motion

pursuant to §2255 and the AEDPA provides a mechanism by which he may

pursue another such motion.         The Defendant may not avoid AEDPA’s

requirements for filing a second or successive §2255 motion by filing a petition

for a writ of audita querela. United States v. Sanchez, 2009 WL 389365 (3 rd

Cir. 2009); Carrington v. United States, 503 F.3d 888, 890 (9 th Cir. 2007),

opinion amended on denial of rehearing 530 F.3d 1183 (9 th Cir. 2008); Valdez-

Pacheco, 237 F.3d at 1079; Shelton v. United States, 201 Fed.Appx. 123, 124

(3 rd Cir. 2006) (“In particular, the writ [of audita querela] cannot be invoked in

order to enable a defendant to file a §2255 claim, but avoid complying with the

rules that govern such motions.”); Collins v. United States, 2009 W L 792048


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(N.D.N.Y. 2009), affirmed 373 Fed.Appx. 94 (2 nd Cir. 2010). “A prisoner may

not circumvent valid congressional limitations on collateral attacks by

asserting that those very limitations create a gap in the postconviction

remedies that must be filled by common law writs.” Valdez-Pacheco, 237 F.3d

at 1080; In re Watkins, 223 Fed.Appx. 265 (4 th Cir. 2007). As a result, the

Defendant is not entitled to any relief.

      As is obvious from the procedural history recounted above, the

Defendant is a prolific pro se filer. The Defendant is hereby placed on notice

that the Court will not continue to entertain frivolous filings. Prisoners do not

have an absolute and unconditional right of access to the courts in order to

prosecute frivolous, malicious, abusive or vexatious motions.           Demos v.

Keating, 33 Fed.Appx. 918 (10 th Cir. 2002); Tinker v. Hanks, 255 F.3d 444,

445 (7 th Cir. 2001), certiorari denied 535 U.S. 956, 122 S.Ct. 1362, 152

L.Ed.2d 357 (2002); In re Vincent, 105 F.3d 943 (4 th Cir. 1997). District courts

have inherent power to control the judicial process and to redress conduct

which abuses that process. Silvestri v. General Motors Corp., 271 F.3d 583,

590 (4 th Cir. 2001) (citation omitted). “It is well-established law in this circuit

that a district court may establish a system of ‘pre-filing review of complaints

brought by prisoners with a history of litigiousness.’” In re Burnley, 988 F.2d

1, 3 (4 th Cir. 1992) (citation omitted).


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      The Defendant is hereby warned that future frivolous filings will result in

the imposition of a pre-filing review system. Cromer v. Kraft Foods North

America, Inc., 390 F.3d 812 (4 th Cir. 2004); Vestal v. Clinton, 106 F.3d 553 (4 th

Cir. 1997). If such a system is placed in effect, pleadings presented to the

Court which are not made in good faith and which do not contain substance,

will be summarily dismissed as frivolous. Foley v. Fix, 106 F.3d 556 (4 th Cir.

1997); In re Joseph Marion Head, 19 F.3d 1429 (4th Cir. 1994), certiorari

denied 513 U.S. 999, 115 S.Ct. 508, 130 L.Ed.2d 416 (1994). Thereafter, if

such writings persist, the pre-filing system may be modified to include an

injunction from filings. See, 28 U.S.C. §1651(a); In re Martin-Trigona, 737

F.2d 1254 (2d Cir. 1984).

                                     ORDER

      IT IS, THEREFORE, ORDERED that the Defendant’s Petition for Writ

of Audita Querela [Doc. 287] is hereby DENIED.

                                        Signed: November 20, 2010




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